Case 1:24-cr-00542-AS   Document 331-1   Filed 05/13/25   Page 1 of 6




                        EXHIBIT A
      Case 1:24-cr-00542-AS          Document 331-1        Filed 05/13/25     Page 2 of 6




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA

                                                          VICTIM-4 ATTORNEY DECLARATION
                        v.
                                                                                      24 Cr. 542 (AS)

 SEAN COMBS,
                                   Defendant.


STATE OF NEW YORK             )
COUNTY OF NEW YORK            ) ss.
SOUTHERN DISTRICT OF NEW YORK )

I, Michael Ferrara, declare under penalty of perjury, upon information and belief, as follows:

       1.      I am a member of the bar of the State of New York, a partner at the law firm

Hecker Fink LLP, and counsel to Victim-4 in the above-captioned action.

       2.      I respectfully submit this declaration in support of the government’s April 4, 2025

motion in limine to protect the identities of certain victims, including Victim-4, ECF 211, and

pursuant to the Court’s April 22, 2025 Order to “furnish evidence to support an actual risk of

harm to [Victim-4]” if she were required to testify without the protection of a pseudonym.

       3.      Victim-4 has already endured substantial emotional and psychological trauma as a

result of the experiences about which she will testify at defendant Sean Combs’s upcoming trial.

As a result of this trauma, Victim-4 has struggled with
       Case 1:24-cr-00542-AS         Document 331-1        Filed 05/13/25      Page 3 of 6




                                                             Without the protection of a

pseudonym, Victim-4 faces a substantial risk of additional, irreparable harm to her prospects of

employment,           , and close personal relationships, not to mention to her safety and

emotional and psychological recovery process, which continues to this day.

       4.      Contrary to Mr. Combs’s assertions, Victim-4 is neither ambivalent about, nor

interested in, testifying using her real name, and seeks the protection of a pseudonym to prevent

the actual and specific threat of harm described below.

I.     Much of Victim-4’s Most Sensitive Testimony Is Unknown to the Public

       5.      I understand that Victim-4’s testimony will almost certainly involve



                             Victim-4’s anticipated testimony in this regard is obviously

extremely sensitive in nature and would result in humiliating and retraumatizing publicity if

Victim-4 is required to testify using her real name.

       6.      Victim-4 has never spoken publicly about, or otherwise publicized,




       7.      Victim-4 acknowledges the possibility that the media or public will connect the

dots and identify her. But even if the protection of a pseudonym does not make it impossible for

someone to identify her, Victim-4 also hopes that her clear preference to keep her identity secret

might prompt the media or public to respect her decision and not publish her name even if they

are able to do so.




                                                 2
       Case 1:24-cr-00542-AS          Document 331-1        Filed 05/13/25     Page 4 of 6




II.    Emotional and Mental Harm

       8.      The circumstances that Victim-4 endured




       9.      Victim-4 has

Although she has made progress, the prospect of testifying about her experiences has triggered

significant anxiety as she revisits many of the most traumatic experiences of her life.

       10.     If Victim-4 is required to testify about these traumas without the protection of a

pseudonym, her hard-fought progress will undoubtedly be negatively impacted, and her

emotional and psychological anguish worsened, including because she faces the risk of

becoming publicly and permanently associated with the very traumatic circumstances she has

spent years trying to move on from.

III.   Professional and Material Harm

       11.     Beyond the emotional and psychological toll, Victim-4’s public identification in

the course of her testimony would significantly jeopardize her professional prospects.

       12.



                                                                                          But if

she is forced to testify without the protection of a pseudonym, her efforts will be hampered.

IV.    Fear of Reprisal and Harassment

       13.     Finally, Victim-4 is legitimately fearful of the substantiated risk of harassment

and reprisal from Mr. Combs and his supporters if she is forced to testify without the protection

of a pseudonym.



                                                 3
       Case 1:24-cr-00542-AS         Document 331-1         Filed 05/13/25         Page 5 of 6




       14.     As the Court is well aware, Mr. Combs has already been found to have engaged in

numerous instances of witness tampering and harassment both directly and with the assistance of

other individuals operating at his direction. See ECF 92 at 2–3.

       15.




       16.




       17.     For Victim-4, this experience of harassment is all too familiar. As a result of her

experiences of abuse and trauma, Victim-4 maintains a constant fear that



       18.     Indeed, this fear of reprisal is so acute that Victim-4




       19.

                                                                         If Victim-4 is forced to

testify using her real name, it will only exacerbate this pattern of harassment.

       20.     In sum, in order to protect her privacy, avoid humiliation, avert harassment, and

prevent an adverse impact on her ability to earn an income,                          , and continue

to pursue emotional and psychological treatment and recovery, Victim-4 respectfully requests

that the Court permit her to testify under a pseudonym.

                                                 4
      Case 1:24-cr-00542-AS          Document 331-1         Filed 05/13/25     Page 6 of 6




       21.     I declare under penalty of perjury that the foregoing is true and correct upon

information and belief.



 Dated: New York, New York                          _________________________
        April 23, 2025                              Michael Ferrara
                                                    Hecker Fink LLP
                                                    350 Fifth Avenue, 63rd Floor
                                                    New York, NY 10118
                                                    mferrara@heckerfink.com
                                                    212-763-0883

                                                    Attorney for Victim-4




                                                5
